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        Title of Court           Date of Admission   In Good Standing?
 Northern District of Illinois   December 3, 2010           Yes
  Central District of Illinois   December 4, 2015           Yes
 Southern District of Illinois    October 3, 2016           Yes
Northern District of Indiana        July 29, 2015           Yes
Southern District of Indiana        July 31, 2015           Yes
Eastern District of Wisconsin     October 21, 2016          Yes
Western District of Wisconsin     October 4, 2016           Yes
  Northern District of Texas     November 13, 2017          Yes
  Southern District of Texas       August 3, 2017           Yes
   Eastern District of Texas        June 6, 2017            Yes
  Western District of Texas      December 15, 2017          Yes
     District of Colorado         August 30, 2017           Yes
  Northern District of Ohio       August 24, 2018           Yes
Western District of Michigan       March 13, 2018           Yes
 Eastern District of Michigan    December 19, 2017          Yes
     State Bar of Illinois          May 6, 2010             Yes
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